     Case 2:90-cv-00520-KJM-DB Document 7747 Filed 03/01/23 Page 1 of 6


 1

 2

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    RALPH COLEMAN, et al.,                          No. 2:90-cv-0520 KJM DB P
12                      Plaintiff,
13           v.                                       ORDER
14    GAVIN NEWSOM, et al.,
15                      Defendants.
16

17

18          The matter of payment of the special master has been referred to this court by the district
19   court. The court has reviewed the bill for services provided by the Special Master in the above-
20   captioned case through the month of January 2023.
21          Good cause appearing, IT IS HEREBY ORDERED that:
22                 1. The Clerk of the Court is directed to pay to
23                         Pannone Lopes Devereaux & O’Gara LLC
                           Attn: Matthew A. Lopes, Jr., Esq., Special Master
24                         Northwoods Office Park, Suite 215N
                           1301 Atwood Avenue
25                         Johnston, RI 02919
26
27   the amount of $854,566.05 as payment of the statement attached to this order; and
28
                                                      1
     Case 2:90-cv-00520-KJM-DB Document 7747 Filed 03/01/23 Page 2 of 6


 1                 2. A copy of this order shall be served on the financial department of this court.

 2   Dated: February 28, 2023
 3

 4

 5

 6

 7

 8

 9   /cole23.jan

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                      2
     Case 2:90-cv-00520-KJM-DB Document 7747 Filed 03/01/23 Page 3 of 6


 1   RALPH COLEMAN, et al.,                       :
         Plaintiffs,                              :
 2                                                :       No. Civ. S-90-0520 LKK JFM P
            v.                                    :
 3                                                :
     EDMUND G. BROWN, JR., et al.                 :
 4       Defendants.

 5    The Special Master hereby submits his latest statement for fees and disbursements, including
      those accrued through January 31, 2023.
 6

 7    Matthew A. Lopes, Jr., Special Master
                Services                                         $18,696.00
 8
                Disbursements                                    $28,972.15
 9
                                              Total amount due                    $47,668.15
10
      Kerry F. Walsh, J.D., Deputy Special Master
11              Services                                         $39,503.00
                Disbursements                                    $     0.00
12
                                              Total amount due                    $39,503.00
13
      Kristina M. Hector, J.D.
14
                 Services                                        $39,740.00
15               Disbursements                                   $     0.00

16                                            Total amount due                    $39,740.00

17    Steven W. Raffa, J.D.
                Services                                         $42,082.00
18              Disbursements                                    $     0.00
19                                            Total amount due                    $42,082.00
20    Regina M. Costa, MSW., J.D.
21              Services                                         $40,900.50
                Disbursements                                    $     0.00
22
                                              Total amount due                    $40,900.50
23

24    LaTri-c-ea McClendon-Hunt, J.D.
                 Services                                        $     0.00
25               Disbursements                                   $     0.00
26                                            Total amount due                    $      0.00
27

28
                                                      3
     Case 2:90-cv-00520-KJM-DB Document 7747 Filed 03/01/23 Page 4 of 6


 1    Michael F. Ryan, Jr.
                 Services                              $37,696.00
 2               Disbursements                         $     0.00
 3
                                    Total amount due                $37,696.00
 4
      Michael A. Milas
 5               Services                              $38,364.00
                 Disbursements                         $     0.00
 6
                                    Total amount due                $38,364.00
 7
      Mario R. McClain, Jr.
 8              Services                               $34,461.50
                Disbursements                          $     0.00
 9
                                    Total amount due                $34,461.50
10
      Rachel Gribbin
11               Services                              $16,969.00
                 Disbursements                         $     0.00
12
                                    Total amount due                $16,969.00
13
      Lana L. Lopez
14              Services                               $31,593.00
15              Disbursements                          $     0.00

16                                  Total amount due                $31,593.00

17    Sofia A. Millham
                 Services                              $27,661.00
18               Disbursements                         $     0.00
19                                  Total amount due                $27,661.00
20    Kerry C. Hughes, M.D.
                Services                               $35,137.00
21
                Disbursements                          $ 1,441.33
22
                                    Total amount due                $36,578.33
23
      Jeffrey L. Metzner, M.D.
24                Services                             $29,105.00
                  Disbursements                        $ 1,232.47
25
                                    Total amount due                $30,337.47
26
27

28
                                            4
     Case 2:90-cv-00520-KJM-DB Document 7747 Filed 03/01/23 Page 5 of 6


 1    Mary Perrien, Ph.D.
                 Services                              $ 9,909.00
 2               Disbursements                         $ 2,439.10
 3
                                    Total amount due                $12,348.10
 4
      Patricia M. Williams, J.D.
 5                Services                             $36,242.50
                  Disbursements                        $ 1,086.67
 6
                                    Total amount due                $37,329.17
 7
      Henry A. Dlugacz, MSW, J.D.
 8              Services                               $ 2,500.00
 9              Disbursements                          $     0.00

10                                  Total amount due                $ 2,500.00

11    Lindsay M. Hayes
                Services                               $38,315.00
12              Disbursements                          $ 2,391.20
13                                  Total amount due                $40,706.20
14    Timothy A. Rougeux
15              Services                               $31,090.50
                Disbursements                          $     0.00
16
                                    Total amount due                $31,090.50
17
      Maria Masotta, Psy.D.
18              Services                               $24,087.00
                Disbursements                          $ 808.75
19
                                    Total amount due                $24,895.75
20
      Karen Rea PHN, MSN, FNP
21
                Services                               $27,550.00
22              Disbursements                          $ 280.00

23                                  Total amount due                $27,830.00

24    James F. DeGroot, Ph.D.
                Services                               $ 9,400.00
25              Disbursements                          $     0.00
26                                  Total amount due                $ 9,400.00
27

28
                                            5
     Case 2:90-cv-00520-KJM-DB Document 7747 Filed 03/01/23 Page 6 of 6


 1    Brian J. Main, Psy.D.
                 Services                                        $26,265.00
 2               Disbursements                                   $ 1,934.82
 3
                                             Total amount due                           $28,199.82
 4
      Sharen Barboza, PhD.
 5              Services                                         $30,825.00
                Disbursements                                    $ 1,072.29
 6
                                             Total amount due                           $31,897.29
 7
      Daniel F. Potter, PhD.
 8               Services                                        $46,246.00
                 Disbursements                                   $ 1,153.63
 9

10                                           Total amount due                           $47,399.63

11    Brett L. Johnson, M.D.
                  Services                                       $39,307.00
12                Disbursements                                  $ 662.23

13                                           Total amount due                           $39,969.23
14    Alberto F. Caton
                 Services                                        $31,936.50
15               Disbursements                                   $    16.63
16
                                             Total amount due                           $31,953.13
17
      Marcus R. Patterson, PsyD.
18              Services                                         $24,845.00
                Disbursements                                    $ 648.28
19
                                             Total amount due                           $25,493.28
20
21    TOTAL AMOUNT TO BE REIMBURSED                                                     $854,566.05
22
      Receipts for justification of reported expenditures are available upon request.
23
      Respectfully submitted,
24
      /s/ Matthew A. Lopes, Jr.
25

26    Matthew A. Lopes, Jr.
      Special Master
27

28
                                                       6
